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                            Fax: 907.561.1215

                            Attorneys for Defendant Alaska Pacific University

                                                             UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF ALASKA

                            JOHN DOE,

                                              Plaintiff,

                                         v.

                            ALASKA PACIFIC UNIVERSITY, an
                            Alaska Nonprofit Corporation,
                                                                                     Case No. 3:18-cv-00188-HRH
                                              Defendant.


                                JOINT MOTION TO STAY LITIGATION AND FOR SETTLEMENT CONFERENCE
Anchorage, Alaska 99501
 LITTLER MENDELSON




                                    Plaintiff John Doe and Defendant Alaska Pacific University hereby jointly move for a stay of
 500 L Street, Suite 201


    Fax: 907.561.1215
    Tel: 907.561.1214




                           litigation until December 31, 2018 so that the parties may participate in a Settlement Conference

                           facilitated by this Court. The parties also jointly move for an assignment to a Settlement Conference

                           Judge.

                                    Despite the stay, the parties have agreed to exchange initial disclosures at least seven (7)

                           court days prior to any Settlement Conference scheduled and continue to work together to see if they

                           can agree upon a stipulated protective order so that the parties may address the confidential nature of

                           some of the information and documents anticipated to be included in their initial disclosures.

                                    //

                                    //
                            Joint Motion for Stay and Settlement Conference
                            John Doe v. Alaska Pacific University; 3:18-cv-188-HRH                                  Page 1 of 2
                                    Case 3:18-cv-00188-HRH Document 15 Filed 11/13/18 Page 1 of 2
                                                                     Respectfully submitted,

                                 Dated this 13th day of November, 2018.

                                                                         LITTLER MENDELSON
                                                                         Attorneys for Defendant,
                                                                         Alaska Pacific University


                                                                   By:    /s/ Douglas S. Parker
                                                                         Douglas S. Parker
                                                                         Alaska Bar 8311168


                                                                   By:    /s/ Renea I. Saade
                                                                         Renea I. Saade
                                                                         Alaska Bar 0911060

                                                                         STEVEN M. WELLS P.C.


                                                                   By:     /s/ Steven M. Wells
                                                                         Steven M. Wells
                                                                         Alaska Bar 0010066
Anchorage, Alaska 99501
 LITTLER MENDELSON
 500 L Street, Suite 201




                           CERTIFICATE OF SERVICE:
    Fax: 907.561.1215
    Tel: 907.561.1214




                           I hereby certify that on the 13th day of
                           November, 2018, a true and correct copy
                           of the foregoing document was served on:

                           Steven M. Wells

                           By  Hand  Mail  Fax
                            Court’s ECF filing system

                           /s/ Nancy Murphy Kruse
                           Nancy Murphy Kruse
                           Legal Assistant


                           FIRMWIDE:160068409.1 099791.1001




                           Joint Motion for Stay and Settlement Conference
                           John Doe v. Alaska Pacific University; 3:18-cv-188-HRH                    Page 2 of 2
                                 Case 3:18-cv-00188-HRH Document 15 Filed 11/13/18 Page 2 of 2
